 Case 2:18-cv-05741-DMG-PLA Document 161 Filed 03/22/19 Page 1 of 6 Page ID #:4760




 1   NICOLA T. HANNA
     United States Attorney
 2   DAVID M. HARRIS
     Assistant United States Attorney
 3   Chief, Civil Division
     JOANNE S. OSINOFF
 4   Assistant United States Attorney
     Chief, General Civil Section
 5   DAVID PINCHAS (Cal. Bar No. 130751)
     Assistant United States Attorney
 6         Federal Building, Suite 7516
           300 North Los Angeles Street
 7         Los Angeles, California 90012
           Telephone: (213) 894-2920
 8         Facsimile: (213) 894-7819
           E-mail: david.pinchas@usdoj.gov
 9
     Attorneys for Defendant E. Scott Lloyd
10
11
                              UNITED STATES DISTRICT COURT
12
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                    WESTERN DIVISION
14
     LUCAS R, et al.,                         No. CV 18-5741 DMG (PLAx)
15
                Plaintiff,
16                                            DEFENDANT E. SCOTT LLOYD’S
                        v.                    MOTION FOR JUDGMENT ON THE
17                                            PLEADINGS AND MOTION TO
     ALEX AZAR, et al.,                       DISMISS; DECLARATION OF E.
18                                            SCOTT LLOYD
                Defendants.
19                                            Honorable Dolly M. Gee
20                                            Date: April 26, 2019
                                              Time: 9:30 a.m.
21                                            Place: Courtroom 8C
                                                     First Street Courthouse
22
23
24
25
26
27
28
 Case 2:18-cv-05741-DMG-PLA Document 161 Filed 03/22/19 Page 2 of 6 Page ID #:4761




 1   NOTICE OF MOTION AND MOTION FOR JUDGMENT ON THE PLEADINGS
 2         PLEASE TAKE NOTICE that, on April 26, 2019 at 9:30 a.m., or as soon as
 3   possible thereafter, in the United States Courthouse located at 350 West 1st Street, Los
 4   Angeles, CA, 90012, Federal Defendant E. Scott Lloyd, sued in his individual capacity
 5   as an officer and employee of the United States will, and hereby does, move to dismiss
 6   the Plaintiffs’ Complaint and action against him pursuant to Federal Rules of Civil
 7   Procedure 8(a)(1), 12(b)(2), and 12(c) on the grounds that Plaintiffs’ Complaint fails to
 8   establish the Court’s personal jurisdiction over him, fails to give notice of the claims
 9   against him, fails to state a claim upon which relief can be granted against him, and fails
10   to defeat his qualified immunity from this suit.
11         This Motion is based on this Notice of Motion and Motion, the attached
12   Memorandum of Points and Authorities, and such other evidence or argument as the
13   Court may consider. This motion follows the meeting of counsel pursuant to Local Rule
14   7-3 which took place on January 24, 2019.
15   Dated: March 22, 2019                  NICOLA T. HANNA
                                            United States Attorney
16                                          DAVID M. HARRIS
17                                          Assistant United States Attorney
                                            Chief, Civil Division
18                                          JOANNE S. OSINOFF
                                            Assistant United States Attorney
19                                          Chief, General Civil Section
                                            /s/ David Pinchas
20                                          DAVID PINCHAS
21                                          Assistant United States Attorney

22                                           Attorneys for Defendant E. Scott Lloyd
23
24
25
26
27
28
                                                   i
 Case 2:18-cv-05741-DMG-PLA Document 161 Filed 03/22/19 Page 3 of 6 Page ID #:4762




 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION AND BACKGROUND
 3         Plaintiffs’ 59-page first amended complaint (the “Complaint”) seeks injunctive
 4   and declaratory relief regarding policies and practices of the Department of Health and
 5   Human Services’ Office of Refugee Resettlement (“ORR”) which Plaintiff claims cause
 6   “harm to children detained for alleged civil violations of the Immigration and Nationality
 7   Act.” Complaint ¶ 1. The Complaint alleges that ORR’s policies and practices violate
 8   the settlement in Flores v. Sessions, CV 85-4553 DMG, as well as the due process clause
 9   of the Firth Amendment to the U.S. Constitution, the Freedom of Association Clause of
10   the First Amendment and the Rehabilitation Act of 1973. Complaint ¶¶ 2-4.
11         Defendant E. Scott Lloyd, the former Director of ORR, is sued in his individual
12   capacity for nominal damages pursuant to Bivens v. Six Unknown Named Agents of the
13   Federal Bureau of Narcotics, 403 U.S. 388 (1971). See Complaint ¶ 22. Mr. Lloyd is
14   only referred to by name once in the Complaint, in paragraph 22 thereof. Possibly Mr.
15   Lloyd is also included in section VI of the Complaint, which alleges that ORR’s policy
16   and practices violate due process (Complaint at pages 31-46). It is unclear whether
17   Plaintiffs also purport to sue Mr. Lloyd under section VII of the Complaint, for violation
18   of Section 504 of the Rehabilitation Act, 29 U.S.C. § 294 (Complaint at 46-51).1 or
19   under section VIII for injunctive relief.2
20   II.   ARGUMENT
21         A.     The Complaint Fails to State a Claim Against Mr. Lloyd
22         The Complaint is bereft of any allegations as to what Mr. Lloyd personally did to
23
           1
24           Secretary Azar is the only proper defendant in a Rehabilitation Act case. See
     Johnston v. Horne, 875 F.2d 1415, 1419 (9th Cir. 1989), overruled on other grounds,
25
     Irwin v. Dep't of Veterans Affairs, 498 U.S. 89 (1990).
26         2
              Mr. Lloyd is no longer Director of ORR. See Lloyd declaration ¶ 1. Thus, he
27   cannot be the subject of a claim for injunctive relief regarding ORR’s policies and
28   practices.
                                                 -1-
 Case 2:18-cv-05741-DMG-PLA Document 161 Filed 03/22/19 Page 4 of 6 Page ID #:4763




 1   violate Plaintiffs’ constitutional rights. To state a Bivens claim, Plaintiffs must set forth
 2   specific factual allegations showing that Mr. Lloyd was personally involved in violating
 3   their clearly established rights. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“each
 4   Government official, his or her title notwithstanding, is only liable for his or her own
 5   misconduct. In the context of determining whether there is a violation of a clearly
 6   established right to overcome qualified immunity, purpose rather than knowledge is
 7   required to impose Bivens liability on…an official charged with violations arising from
 8   his or her superintendent responsibilities.”); Kwai Fun Wong v. United States, 373 F.3d
 9   952, 966-79 (9th Cir. 2004) (complaint must set forth what each Defendant did to cause
10   constitutional violation); Oksner v. Blakely, 2007 WL 3238659 at * 8 (N.D. Cal. Oct.
11   31, 2007) (mere assertion that official implemented or enforced unlawful policies is
12   insufficient to state a Bivens claim).
13         Plaintiff’s failure to state a Bivens claim also implicates Mr. Lloyd’s qualified
14   immunity from this action. Iqbal, 556 U.S. at 672-73. In order to defeat a government
15   official's claim of qualified immunity, a plaintiff must demonstrate that the official's
16   actions violated a constitutional right, that the right was clearly established at the time of
17   the violation, and that a reasonable official would have known that his conduct violated
18   that right. See Harlow v. Fitzgerald, 457 U.S. 800, 818-819 (1982). The Complaint fails
19   to satisfy Plaintiff’s burden and thus Mr. Lloyd’s qualified immunity should be
20   respected.
21         Moreover, the Complaint’s lack of any substantive and specific allegations
22   regarding Mr. Lloyd’s conduct amounts to impermissible “shotgun pleading.” See
23   Sollberger v. Wachovia Securities, LLC, 2010 WL 2674456 at * 4 (C.D. Cal. Aug. 3,
24   2017) (dismissing complaint which failed to identify what the particular defendants did
25   wrong as shotgun pleading). See also Destfino v. Kennedy, 2009 WL 63566 at * 6 (E.D.
26   Cal. Jan. 8, 2009) (a pleading which fails to distinguish what each defendant did fails to
27   satisfy the notice requirements of Federal Rule of Civil Procedure 8).
28         Accordingly, the Complaint should be dismissed pursuant to Rules 8 and 12(c).
                                                  -2-
 Case 2:18-cv-05741-DMG-PLA Document 161 Filed 03/22/19 Page 5 of 6 Page ID #:4764




 1         B.     The Court Lacks Personal Jurisdiction Over Mr. Lloyd
 2         As explained in the attached declaration of Mr. Lloyd, he has never lived in
 3   California, nor has he been employed here. Lloyd declaration ¶ 3. At all relevant times,
 4   Mr. Lloyd’s office has been in Washington, D.C. Id. ¶ 2. Thus, he is only subject to
 5   personal jurisdiction in this Court if he has certain minimum contacts “such that
 6   maintenance of this suit does not offend traditional notions of fair play and substantial
 7   justice.” International Shoe v. Washington, 326 U.S. 310, 316 (1945) (citation omitted).
 8         Plaintiff has the burden of establishing that the Court has personal jurisdiction
 9   over a nonresident defendant. See Schwarzenegger v. Fred Martin Motor Co., 374 F.3d
10   797, 800 (9th Cir. 2004). Here, the Complaint is as silent as to Mr. Lloyd’s connection
11   to California as it is to what, if anything, he supposedly did to violate Plaintiffs’
12   constitutional rights.
13         The Court’s personal jurisdiction over Mr. Lloyd cannot be based solely on his
14   supervisory status. Indeed, in Stone v. Derosa, 2009 WL 798930 at *1 (D. Arizona Mar.
15   25, 2009), the court rejected the recommendation of a Magistrate Judge that the court
16   assert personal jurisdiction over the Director of the Federal Bureau of Prisons (“BOP”),
17   who worked and resided in the Washington D.C. area, in a suit in which BOP policy was
18   at issue, even though the Director was responsible for enforcement of BOP policies. The
19   Stone court found such an expansive view of personal jurisdiction violated traditional
20   notions of fair play and substantial justice which would “inevitably open the floodgates
21   to universal jurisdiction by federal courts.”
22         Many other courts have ruled similarly. See Hill v. Pugh, 75 Fed.Appx. 715, 719
23   (10th Cir. 2003) (“it is not reasonable to suggest that federal prison officials may be
24   hauled into court simply because they have regional and national supervisory
25   responsibilities over facilities within the forum state”); Munns v. Clinton, 822 Supp.2d
26   1048, 1078 (E.D. Cal. 2011) (allegations of national policy implementation and
27   oversight are insufficient to establish personal jurisdiction); McCabe v. Basham, 450
28   Fed.Supp.2d 916, 926-27 (N.D. Iowa Feb. 16, 2006) (collecting cases establishing that
                                                  -3-
 Case 2:18-cv-05741-DMG-PLA Document 161 Filed 03/22/19 Page 6 of 6 Page ID #:4765




 1   personal jurisdiction cannot be premised on supervisory status).
 2          Plaintiffs bear the burden of demonstrating that Mr. Lloyd “purposely availed
 3   himself of the privilege of conducting activities” in California or “purposely directed his
 4   activities” toward California. Schwarzenegger 374 F.3d at 802. Plaintiffs must also
 5   establish that their claim against Mr. Lloyd arises from his forum-related activities. Id.
 6          The Complaint alleges that two of the Plaintiffs were detained and suffered injury
 7   in Yolo Juvenile Detention Center in California. See Complaint ¶¶ 52-533, 74.
 8   However, Plaintiffs do not and cannot allege that Mr. Lloyd had supervisory authority
 9   over the Yolo facility, that he personally sent these juveniles to this facility, nor that he
10   could have foreseen their injuries there. In fact, the foreseeability of causing injury in
11   another state is not a sufficient benchmark for the exercise of personal jurisdiction See
12   Burger King Corp. v. Rudzewicz, 471 U.S. 462, 474 (1985). Thus, this action should
13   also be dismissed pursuant to Rule 12(b) (2).
14   III.   CONCLUSION
15          For all the foregoing reasons, Defendant Lloyd requests that the Complaint and
16   Plaintiffs’ action against him be dismissed in their entirety.
17    Dated: March 22, 2019                      Respectfully submitted,
18                                               NICOLA T. HANNA
                                                 United States Attorney
19                                               DAVID M. HARRIS
                                                 Assistant United States Attorney
20                                               Chief, Civil Division
                                                 JOANNE S. OSINOFF
21                                               Assistant United States Attorney
                                                 Chief, General Civil Section
22
                                                    /s/ David Pinchas
23                                               DAVID PINCHAS
                                                 Assistant United States Attorney
24
                                                 Attorneys for Federal Defendant E. Scott
25                                               Lloyd
26
            3
27            Plaintiffs allege that Plaintiff Miguel Angel S. was pepper sprayed on one
     occasion at Yolo. Complaint ¶ 52. Plaintiffs do not, however, explain what led up to
28
     this incident or how Mr. Lloyd personally was in any way part of this incident.
                                                  -4-
